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                                 UNITED STATES DISTRICT COURT

                                      DISTRICT OF MARYLAND

   CHAMBERS OF                                                                         6500 Cherrywood Lane
    Paula Xinis                                                                        Greenbelt, MD 20770
UNITED STATES DISTRICT JUDGE                                                           (301) 344-0653


                                              August 4, 2022



              Re:     20-2540, Association for Education Fairness v. Montgomery County Board of
                      Education



                                    MEMORANDUM TO COUNSEL

      Counsel,

               On July 29, 2022, this Court issued a Memorandum Opinion and Order (ECF Nos. 99 &
      100) in the above-captioned case. It has since been brought to the Court’s attention that both
      filings inadvertently omitted Identity Inc. from the list of participating Amici. The Court has
      corrected the Memorandum Opinion and Order accordingly. The Memorandum Opinion and
      Order are otherwise unchanged.



                                           Sincerely,

                                                          /s/
                                           PAULA XINIS
                                           United States District Judge
